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10                        UNITED STATES DISTRICT COURT
11                      SOUTHERN DISTRICT OF CALIFORNIA
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13
      UNITED STATES OF AMERICA,                        Criminal Case No. 11CR1926-H
14
                                Plaintiff,             ORDER GRANTING UNITED
15                                                     STATES’ MOTION TO REVOKE
                         v.                            ORDER EXONERATING BOND
16                                                     AND ISSUE BENCH WARRANT
17
      JUAN J. PIMENTEL (18),
18
                                Defendant.
19
20         On June 10, 2013, Defendant Juan J. Pimentel (“Defendant Pimentel”) was
21   sentence by the court to 24 months in custody, after pleading guilty to a single count
22   of conspiracy to launder monetary instruments. (Doc. No. 649.) Defendant Pimentel
23   was order to self surrender to an institution designated by the Bureau of Prisons on
24   or before July 26, 2013 by 12:00 P.M. (Doc. No. 644.)
25         On July 8, 2013, Defendant Pimentel filed a motion to continue his self-
26   surrender date. (Doc. No. 667.) Additionally, on July 15, 2013, Defendant Pimentel
27   filed an acknowledgment attesting to the new self-surrender date of September 3,
28   2013. (Doc. No. 672.)
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 1         On July 18, 2013, the court signed an order granting the defendant’s motion to
 2   continue his self-surrender date and ordered the defendant to self surrender “to an
 3   institution designated by the Federal Bureau of Prisons on or before September 3,
 4   2013 by 12:00 P.M.” and provided that “[i]f no designation is made by the Bureau of
 5   Prisons by the new self-surrender date, the defendant is to self-surrender to the
 6   United States Marshals Service on or before September 3, 2013 by 12:00 P.M.”
 7   (Doc. No. 677.) The order also vacated the previous bond exoneration hearing set for
 8   July 26, 2013 at 2:00 P.M. and continued the bond exoneration hearing to September
 9   3, 2013 at 2:00 P.M.
10         On September 3, 2013, the Court held a bond exoneration hearing in this case.
11   Assistant U.S. Attorney Christopher Tenorio specially appeared for Assistant U.S.
12   Attorney Daniel Zipp on behalf of the United States. Defendant Pimentel and
13   defense counsel were not present at the hearing. At the hearing, the United States
14   informed the court that the defendant had self-surrendered and moved to exonerated
15   the bond as to Defendant Pimentel. The court, on the government’s representation
16   that the defendant had self-surrendered, issued an order exonerating the bond. (Doc.
17   No. 700.)
18         On September 16, 2013, the Unites States filed a motion to revoke the order
19   exonerating bond and to issue a warrant as to Defendant Pimentel. The United
20   States’ motion indicates that neither the U.S. Marshals Services nor the Federal
21   Bureau of Prisons “were able to locate Defendant in their system” but rather both
22   agencies confirmed that the “Defendant had not in fact, self-surrendered on
23   September 3, 2013.” (Doc. No. 708.)
24         After review of the government’s motion, the court GRANTS the United
25   States’ motion to revoke the order exonerating bond and issue bench warrant.
26   Accordingly, the court revokes its previous order exonerating bond as to Defendant
27   Pimentel. The bond is this matter is hereby forfeited and the court orders the
28   issuance of a bench warrant as to Defendant Pimentel for failure to self-surrendered
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 1   as ordered by the court.
 2         IT IS SO ORDERED.
 3   DATED: September 17, 2013
 4
                                             MARILYN L. HUFF, District Judge
 5                                           UNITED STATES DISTRICT COURT
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 7
 8   service to: All counsel of record
 9
10 copies to: Leah R. Bussell
              Assistant United States Attorney
11            Chief, Financial Litigation Unit
12              United States Marshals Service
13              United States Pretrial Services
14              Clerk’s Office Financial Department
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